
BH 2105 Atlantic, LLC, Respondent, 
againstGlizer Rodriguez, Also Known as Glizer R. Lozado, Appellant, et al., Undertenants.




Glizer Rodriguez, appellant pro se.
Adam Leitman Bailey, P.C. (Jeffrey R. Metz, Massimo D'Angelo of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Marina C. Mundy, J.), entered November 13, 2015, deemed from a final judgment of that court entered November 30, 2015 (see CPLR 5512 [a]). The final judgment, entered pursuant to the November 13, 2015 order granting petitioner's motion for summary judgment and denying occupant's cross motion to dismiss the petition, awarded possession to petitioner in an RPAPL 713 summary proceeding.




ORDERED that the final judgment is affirmed, without costs.
Petitioner commenced this RPAPL 713 summary proceeding to recover possession of property it had purchased at a tax foreclosure sale in July 2011, and for which it had received title in January 2012. Petitioner moved for summary judgment, and occupant cross-moved to dismiss the petition on the ground that the foreclosure sale of the property had been improper and that petitioner had never obtained title to the property. In an order dated November 13, 2015, the Civil Court denied occupant's cross motion and granted petitioner's motion for summary judgment. The Civil Court found that it was bound by an amended order of the Supreme Court (Ingrid Joseph, J.), dated September 30, 2014, which held that petitioner had title to the property. Occupant's appeal from the November 13, 2015 order is deemed to be from the final judgment, entered November 30, 2015 pursuant to the order, awarding possession to petitioner (see CPLR 5512 [a]).
For the reasons stated in BH 2105 Atl., LLC v Rodriguez ( Misc 3d , 2018 NY Slip Op [appeal No. 2016-867 K C], decided herewith), the final judgment is affirmed. 
PESCE, P.J., WESTON and ALIOTTA, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: March 23, 2018










